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                                        IN THE UNITED STATES DISTRICT COURT                                           --.   ,'"

                                            FOR THE DISTRICT OF MARYLAND
                                                 GREENBELT DIVISION


         ANITA LANN, et al.,
                                                             *
                                      Plaintiffs,            *
                                                                            Case No. I4-CV-2237        (PJM)
                                                             *
                     v.
                                                             *
         TRINITY HEALTH
         CORPORATION,   et aI.,                              *

                                      Defendants.            *


                                                     ORDER       AND FINAL ,JUDGMENT


                     This litigation involves the claims for alleged violations of the Employee Retirement

         Income Security Act of 1974, as amended ("ERISA"),           29 U.S.c.   SS   100 I, et seq., set forth in

         Plaintiffs'      Class Action Complaints   dated March 28, 2013 (Chavies, et al. v. Catholic Health

         East, et al.) and July 11,2014 (Lann, et al. v. Trinity Health Corp., et al.) (collectively, the

         "Present Actions"),       with respect to the defined benefit pension plans sponsored by Trinity Health

         Corporation        ("Trinity Health") and Catholic Health East ("CHE") (collectively,     the "Plans,,).l

         The Parties agreed upon the key terms of the settlement, memorialized           in a Term Sheet executed

         on December 7, 2015 and filed in both actions on December 9,2015.             Trinity Dkt. # 68; CHE

         Dk!. # 8 I. The Parties finalized a Class Action Settlement Agreement on April 26, 2016, and

         moved to consolidate the CHE case with the Trinity case for purposes of settlement

         ("Settlement"       or -'Settlement Agreement").   On May 24, 2016, this Court granted the Parties'


               1 This Judgment incorporates by reference the definitions in the Settlement Agreement, and
         all terms used herein shall have the same meanings as set forth in the Settlement Agreement
         unless set forth differently herein. The terms of the Settlement are fully incorporated in this
         Judgment as if set forth fully here.



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motion to consolidate. Dkt. # 74. Pursuant to the Court's direction, on January 30, 2017, the

parties filed a revised First Addendum to the Settlement Agreement in connection with their

Motion for Preliminary Approval of the Class Action Settlement Agreement. Dkt. # 75.

            The Court entered an Order Preliminarily Approving the Class Action Settlement

Agreement ("Preliminary Approval Order"), Dkt. #101, dated February 6, 2017, preliminarily

certifying the putative class in the Present Actions for settlement purposes, ordering a Class

Notice to be mailed and published on the internet, scheduling a Fairness Hearing for May 31,

2017, at 2:00 p.m., and providing those persons with an opportunity to object to the proposed

settlement.

            This Court held a Fairness Hearing on May 31,2017 at 2:00 p.m., to determine whether

to give final approval to the proposed settlement.

            Due and adequate notice having been given to the Settlement Class as required in the

Preliminary Approval Order, and the Court having considered the Settlement Agreement, all

papers filed and proceedings held herein, and good cause appearing therefore, IT IS HEREBY

ORDERED, ADJUDGED AND DECREED as follows:


            I.     The Court has jurisdiction over the subject matter of this action and all Parties to

the Present Actions, including all members of the Settlement Class.

            2.     The Settlement Class this Court previously certified preliminarily in its

Preliminary Approval Order consists of:

            All who were participants (whether vested or non-vested) in or beneficiaries of
            the Plans identified in Schedule A of the Settlement Agreement, on or before the
            Effective Date of the Settlement.

            3.     The Court finds that the Settlement Class meets all requirements of Federal Rules

of Civil Procedure 23(a) for certification of the class claims alleged in the Complaints, including:

(a) numerosity; (b) commonality; (c) typicality; and (d) adequacy of the class representatives and

Class Counsel.



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            4.     Additionally, the prerequisites of Rule 23(b)( I) have been satisfied, since the

prosecution of separate actions by individual members of the Settlement Class would create a

risk of (i) inconsistent or varying adjudication which would establish incompatible standards of

conduct for Defendants; and (ii) adjudications with respect to individual Settlement Class

members, which would, as a practical matter, be dispositive of the interests of the other members

not parties to the adjudications or would substantially impair or impede their ability to protect

their interests.

            5.     Furthermore, the prerequisites of Rule 23(b)(2) have been satisfied, since

Defendants have acted or refused to act on grounds generally applicable to the Settlement Class,

thereby making appropriate final injunctive reliefor corresponding declaratory relief with

respect to the Settlement Class as a whole.

            6.     The Settlement Class is hereby finally certified for settlement purposes under

Federal Rule of Civil Procedure 23(b)(l) and (b)(2).

            7.     Pursuant to Federal Rule of Civil Procedure 23(a), the Court finds that Plaintiffs

Anita Lann, Jean Atcherson, Albert R. Chavies and Thomas Holland are members of the

Settlement Class, their claims are typical of those of the Settlement Class and they fairly and

adequately protected the interests of the Settlement Class throughout the proceedings in the

Present Actions. Accordingly, the Court hereby appoints as Class Representatives Anita Lann,

Jean Atcherson, Albert R. Chavies and Thomas Holland.

            8.     Having considered the factors set forth in Federal Rule of Civil Procedure

23(g)(l ), the Court finds that Class Counsel have fairly and adequately represented the

Settlement Class for purposes of entering into and implementing the Settlement, and thus, hereby

appoints Cohen Milstein Sellers & Toll PLLC and Keller Rohrback L.L.P. as Class Counsel to

represent the members of the Settlement Class.

            9.     The appointment of Class Counsel and the appointment of the Plaintiffs as Class

Representatives is fully and finally confirmed.



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             10.         Class Counsel is hereby awarded attorneys'         fees pursuant to Federal Rule of Civil
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Procedure 23(h), in the amount of $               V          , which the Court finds to be fair and reasonable,

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                                                          fCI ass C ounse I' s reasona bl e expenses Incurre
                                                                                                     .       d' In

prosecuting the Present Actions. The attorneys'                 fees and expenses so awarded shall be paid from

the $7,885,025.00            fund for Class Counsel pursuant to the terms of the Settlement Agreement.               All

fees and expenses paid to Class Counsel shall be paid pursuant to the timing requirements

described in the Settlement Agreement.

             II.         Class Counsel has moved for a $10,000 Incentive Fee for each of the ~                        }I\~

Plaintiffs, Anita Lann, Jean Atcherson, Albert R. Chavies and Thomas Holland, and rtalliuff

Mary Beth Henrick.             Defendants take no position on the award of an Incentive Fee for each of
                                                                                                                       II
these Plaintiffs.         The Court hereby [grants in the amount of $'>
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                                                                                     1 [g"nics]    Class Counsel's     CJ
motion for an award of an Incentive Fee for each of the Plaintiffs.                  The Incentive Fee awards

shall be paid from the $7,885,025.00            fund for Class Counsel pursuant to the Settlement

Agreement.             This amount shall be paid pursuant to the timing requirements              described in the

Settlement Agreement.

             12.         The Court directed that Class Notice be given pursuant to the notice program

proposed by the Parties and approved by the Court. In accordance with the Court"s Preliminary

Approval Order and the Court-appointed                notice program: (I) on March 20, 2017, Class Counsel

posted the Settlement Agreement and Class Notice to the Settlement website:

www.cohenmilstein.comJupdate/trinity-che-settlement;                    and (2) on March 17,2017, the

Settlement Administrator,            Rust Consulting,      mailed approximately     253,000 copies the Notice of

Class Action Settlement to members of the Settlement Class.

             13.         The Class Notice and Internet/Publication        of Class Notice (collectively,     the

"Class Notices") advised members of the Settlement Class of the: terms of the Settlement;

Fairness Hearing and the right to appear at such Fairness Hearing; inability to opt out of the

Settlement Class; right to object to the Settlement,               including the right to object to the Settlement

or the application          for an award of attorneys'      fees and reimbursement     of expenses, or the

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Incentive Fees to Anita Lann, Jea~tcherson,        Albert R. Chavies and Thomas Holland as Class

Representatives and to I;           Mary~Henrick;        the procedures for exercising such rights;         @
and the binding effect of this Judgment, whether favorable or unfavorable, to the Settlement                   S   I ~ 1\'1
Class, including the scope of the Released Claims described in      S 4 of the Settlement      Agreement,

the Settlement Agreement's First Addendum, and Schedule D attached thereto.

            14.    The Class Notices met all applicable requirements of the Federal Rules of Civil

Procedure, the United States Code, the United States Constitution, 28 U.S.C.         S   1715, and any

other applicable law. The Court further finds that Notice in the form approved by the Court

complied fully with the Class Action Fairness Act of2005 ("CAFA"), 28 U.S.c.              S   1715, and that

it constituted the best practicable notice under the circumstances. The Court further finds that the

form of notice was concise, clear, and in plain, easily understood language, and was reasonably

calculated under the circumstances to apprise of the pendency of the Present Actions, the claims,

issues and defenses of the Settlement Class, the definition of the Settlement Class certified, the

right to object to the proposed Settlement, the right to appear at the Fairness Hearing, through

counsel if desired, and the binding effect of a judgment on members of the Settlement Class,

including the scope of the Released Claims described in      S 4 of the Settlement   Agreement, the

Settlement Agreement's First Addendum, and Schedule D attached thereto.

            15.    The Court finds after the Fairness Hearing, and based upon all submissions of the

Parties and interested persons, that the Parties' proposed Settlement is fair, reasonable. and

adequate. The Court also finds that the proposed Settlement is consistent with and in compliance

with all applicable requirements of the Federal Rules of Civil Procedure, the United States Code,

and the United States Constitution, and other applicable law. In so finding, the Court has

considered and found that:

                   a)     The Settlement provides for significant monetary contributions to the

            Plans as well as administrative provisions which will enhance the retirement security of

            the members of the Settlement Class by providing features that are comparable to certain

            key ERISA provisions.

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                    b)      The terms and provisions of the Settlement were entered into by

            experienced counsel and only after extensive, arm's-length negotiations conducted in

            good faith and with the assistance of an experienced third party mediator, Mr. Robert

            Meyer, Esq. The Settlement is not the result of collusion.

                    c)      The negotiations were preceded by robust motion practice at the motion to

            dismiss stage, including three separate motions to dismiss in the two actions, oral

            argument and the Court's ruling on one of the Motions; fact and expert discovery,

            including the production of over 10,000 pages of documents during formal and informal

            discovery, 18 expert, fact and 30(b)(6) depositions, and the propounding of multiple

            requests for production of documents, interrogatories and requests for admission; the

            exchange of multiple expert and rebuttal reports; and preparation of Daubert challenges

            and briefing on summary judgment.       The Parties also prepared confidential mediation

            statements, exchanged multiple proposals and counter-proposals concerning the

            Settlement, and participated in multiple hearings before the Court to finalize the terms of

            the Settlement Agreement.

                    d)     The procedural posture of the Present Actions at the time the Term Sheet

            was signed informed the Parties of strengths and weaknesses of theses cases, including

            (I) the possibility that the Third Circuit could rule against Plaintiffs on the threshold

            statutory question at issue; (2) the CHE district court's order to allow discovery on

            whether CHE is a church, and this Court's granting in part Defendants' Motion to

            Dismiss; (3) and the Parties' ongoing investigation and fact discovery. The Settlement is

            therefore structured in a way that adequately accounts for those strengths and

            weaknesses. Class Counsel was cognizant that there was no guarantee of success in this

            case.

                    e)     Approval of the Settlement will result in substantial savings of time,

            money and effort for the Court and the Parties, and will further the interests of justice.

            Defendants denied and continue to deny Plaintiffs' claims and allegations. and raised

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            various factual and legal arguments in support of their vigorous defense in the Present

            Actions.

            16.    All members of the Settlement Class are bound by this Judgment and by the terms

of the Settlement, including the scope of the Released Claims described in ~ 4 of the Settlement,

the Settlement Agreement's First Addendum, and Schedule D attached thereto.

            17.    This Settlement, this Judgment, and/or the fact of Settlement do not constitute an

admission by any of the Parties of any liability, wrongdoing, or violation of law, damages or lack

thereof, or of the validity or invalidity of any claim or defense asserted in the Present Actions. If

the Settlement Agreement is not upheld on appeal, or is otherwise terminated for any reason, the

Settlement and all negotiations, proceedings, and documents prepared, and statements made in

connection therewith, shall be without prejudice to any Party and shall not be deemed or

construed to be an admission by an party of any fact, matter, or position of law; all Parties shall

stand in the same procedural position as if the Settlement Agreement had not been negotiated,

made, or filed with the Court.

            18.    The Court hereby dismisses with prejudice the Present Actions and all Released

Claims identified in ~ 4 of the Settlement Agreement, the Settlement Agreement's First

Addendum, and Schedule D attached thereto, against each and all Released Parties and without

costs to any of the Parties as against the others.

            19.    "Releasees" shall mean Trinity Health, all entities that are considered to be a

single employer with Trinity Health under Internal Revenue Code 414, 26 U.S.C. ~ 414, their

employees, agents, and directors, including the individual defendants.

            20.    "Released Claims" shall mean any and all actual or potential claims, actions,

causes of action, demands, obligations, liabilities, attorneys' fees, expenses and costs arising out

of the allegations of the Complaints that were brought or could have been brought as of the date

of the Settlement Agreement by any member of the Settlement Class, including any current or

prospective challenge to the "Church Plan" status of the Plans. In connection with the Released

Claims, as of the Effective Date of the Settlement Agreement, Plaintiffs, on behalf of themselves

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and on behalf of the Settlement Class, expressly waive and relinquish, to the fullest extent

permitted by law and equity, the provisions, rights and benefits ofS 1542 of the California Civil

Code, which provides: "A general release does not extend to claims which the creditor does not

know or suspect to exist in his favor at the time of executing the release, which if known by him

or her must have materially affected his or her settlement with the debtor."

            21.   Released Claims shall not include: (i) any rights or duties arising out of the

Settlement Agreement, including the express warranties and covenants in the Settlement

Agreement; (ii) claims for relief under state law pursuant to the terms of the Plans' documents,

including but not limited to individual claims for benefits; and (iii) any claim arising under

ERISA with respect to any event occurring after a decision by the United States Supreme Court

holding either that (a) Church Plans must be established by a church or convention or association

of churches or (b) that the Church Plan exemption is unconstitutional; the Internal Revenue

Service issues a written ruling that the Plans do not qualify as Church Plans; the Roman Catholic

Church dissociates itself from Trinity Health Corporation; or an amendment to ERISA is enacted

and becomes effective as a law of the United States eliminating the Church Plan exception.

            22.   It is further ordered that as of the Effective Date of the Settlement Agreement

Plaintiffs on behalfofthemselves     and on behalf of the Settlement Class absolutely and
                                                        CL-j~
unconditionally release and forever discharge the Releasees from any and all Released Claims

that the Plaintiffs or the Settlement Class have. The Settlement Class covenants and agrees: (i)
                                .Q...-.j~
not to file against any of the Releasees any claim based on, related to, or arising from any

Released Claim; and (ii) that the foregoing covenants and agreements shall be a complete
                                                                                                     /0
defense to any such claim against any Releasee.

            23.   It is further ordered that as of the Effective Date of the Settlement Agreement,

Defendants absolutely and unconditionally release and forever discharge the Plaintiffs, the

Settlement Class, and Class Counsel from any and all claims relating to the institution or

prosecution of the Present Actions.



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            24.     It is further ordered that as of the Effective Date of the Settlement Agreement,

each of the Releasees also releases each of the other Releasees from any and all Claims which

were asserted in the Complaints or any pleading which would have been required to be filed in

the Present Actions or that would be barred by principles of res judicata or collateral estoppel

had the claims asserted in the Complaints or any such other pleading in the Present Actions been

fully litigated and resulted in final judgment       or order.

            25.     The Court retains jurisdiction   over the implementation,   administration   and

enforcement       of this Judgment and the Settlement, and all matters ancillary thereto.

            26.    The Court finds that no reason exists for delay in ordering final judgment,         and the

Clerk is hereby directed to enter this Judgment forthwith.




DATED this _
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